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                   UNITED STATES DISTRICT COURT
                     DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                          Criminal No. 09-cr-88-01-SM

Juan Garcia Hernandez, et al



                                 ORDER

     Re: Document No. 55, Motion to Suppress Evidence

     Ruling: Denied.

     The circumstances fully justified execution of the search
warrant without complying with the “knock and announce” rule, for
the reasons given in the government’s opposition memorandum. Law
enforcement officers were justified in determining that knocking
and announcing their presence would unnecessarily expose them to
great danger and would risk the destruction of evidence. It was
apparent from the investigation preceding execution of the warrant
that a large amount of cocaine was stored in the house to be
searched, that it was guarded, that a major drug dealer had charge
of the site, supported by several co-conspirators, all likely armed
and dangerous.

     In addition, as defendant virtually concedes, the Supreme
Court’s decision in Hudson v. Michigan, 547 U.S. 586 (2006)
precludes suppression of evidence based upon failure to comply with
a knock and announce rule. See United States v. Jones, 523 F. 3d
31, 36 (1st Cir. 2008).

     Finally, the rapid employment of aggressive, superior force
and a noise flash device in executing the valid search was
objectively reasonable under the dangerous circumstances faced by
law enforcement and gives rise to no meritorious argument
supporting defendant's motion to suppress the evidence seized.

     The motion is to suppress (doc. no. 55) is denied for the
reasons given by the government in its opposition memorandum. With
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respect to defendants Ciro Lopez Garcia and Marco Garcia, the
motion is also denied on grounds that neither defendant has
standing to challenge the validity of the search as neither had a
cognizable expectation of privacy in the searched premises.



                                       Steven J. McAuliffe
                                       Chief Judge

Date: October 8, 2009

cc: Michael J. Iacopino, Esq.
    Theodore M. Lothstein, Esq.
    Donald A. Kennedy, Esq.
    Charles J. Keefe, Esq.
    James D. Gleason, Esq.
    Terry L. Olilla, Esq.
